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                        UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF LOUISIANA


In Re:
KATRINA CANAL BREACHES                   §               CIVIL ACTION
CONSOLIDATED LITIGATION                  §
                                         §              NO. 05-4182 “K” (2)
                                         §
PERTAINS TO: INSURANCE                   §
                                         §
JOSEPH NEMETH, et al NO: 07-3078         §
LEO WANG, et al         NO: 07-3088      §
RYCK SOTO               NO: 07-3079      §
                                         §
VERSUS                                   §
                                         §
ALLSTATE INSURANCE COMPANY               §
________________________________________ §


                       MOTION FOR EXTENSION OF TIME

               Defendant, Allstate Insurance Company and/or Allstate Indemnity

Company (“Allstate”), hereby moves for an extension of time within which to respond to

the First Supplemental and Amending Complaint on the following grounds:

               1.     Undersigned counsel only recently received the assignment of this

suit by Leo Wang and Shelly Wang against Allstate Insurance Company.

               2.     Undersigned counsel only received a copy of the First

Supplemental and Amending Complaint on June 27, 2007. Counsel needs additional

time to make a proper investigation and prepare responsive pleadings.

               3.     Allstate requests that this Court grant a 20 day extension of time

through and including July 19, 2007, within which to file responsive pleadings. The

extension will not unduly delay the hearing or determination of this case.
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               4.     Undersigned counsel has left a message at counsel for plaintiffs’

office, and faxed and mailed a request for extension of time. Undersigned counsel has

not received any objection to an extension of time from counsel for plaintiff.

               5.     This motion is the undersigned counsel’s first request for extension

of time.

                                             RESPECTFULLY SUBMITTED,


                                             /s/ Carl T. Schwab
                                             GREGORY J. SCHWAB #21075
                                             CARL T. SCHWAB #21430
                                             423 Goode Street
                                             Houma, Louisiana 70360
                                             Tel.: 985-223-4457
                                             e-mail: ctsjag@msn.com
                                             Attorneys for Allstate Indemnity Company



                             CERTIFICATE OF SERVICE

               I hereby certify that on June 29, 2007, I electronically filed the foregoing

Allstate Insurance Company’s Motion for Extension of Time with the Clerk of Court by

using the CM/ECF system which will send a notice of electronic filing to the following:

               Brian J. Eiselen
               beiselen@connicklaw.com

               All Counsel

               There are no manual recipients listed on the Court’s Electronic Mail

Notice List.


                                             /s/ Carl T. Schwab
                                             Carl T. Schwab
